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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 DRAGOS IULIAN NITA                                    §
     Petitioner                                        §
                                                       §
                                                       §
                                                       §
 V.                                                    §
                                                       § CIV. ACTION NO. 4:22-cv-00859
                                                       §
 SHERLY DEL CARMEN VILLA TOVAR                         §
     Respondent                                        §
                                                       §


                     AGREED ORDER FOR THE RETURN OF CHILD TO SPAIN

        This Order directing the child made the basis of this case, (the “child” or “RGVN”) to

return to Spain is made pursuant to Article 7 of the 1980 Convention on the Civil Aspects of

International Child Abduction (the “Hague Convention”), and the International Child Abduction

Remedies Act (“ICARA), 22 U.S.C. §9001 et seq., and with the express consent and agreement of

all parties, as evidence by the signatures of the parties’ respective counsel.

        On this the 10th day of June, 2022, Petitioner, Dragos Iulian Nita, (the “Father”) and

Respondent, Sherly del Carmen Villa Tovar, (the “Mother”), appeared before this Court and

announced they reached an agreement for the resolution of this matter, as follows:

        1.      RGVN will be returned to Spain as soon as reasonably possible.

                a)     It is the intention of the parties that the child will be returned to Spain within

        thirty (30) days of this agreement.

                b)     The Father shall make and pay for the child’s travel arrangements to Spain,

        and provide notice to the Court and all counsel of record of such travel arrangements at

        least forty-eight (48) hours before the child’s scheduled flight(s) from Houston to Spain.

                c)     The Mother (escorted by a US Marshal) shall deliver RGVN to the airport


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        with all travel documents necessary to make the trip to Spain in sufficient time for RGVN

        to board his scheduled flight to Spain.

                d)      It is the intention of the parties that the Father accompany RGVN on his

        flight from Houston to Spain.

                e)      A US Marshal will be utilized as necessary and/or appropriate, and to the

        extent allowed by the Court, to effectuate the child’s return to Spain.

                f)      The parties will cooperate with one another and as directed by the Court to

        resolve any logistical issues related for the child’s return to Spain, including but not limited

        to executing any necessary documents regarding the same, as soon as reasonably possible.

        2.      Once RGVN is returned to Spain, Father will notify all necessary authorities, that

he no longer wishes to prosecute criminal charges against the Mother related to her removal of

RGVN from Spain and keeping the child in the United States. The Father will assist any way

possible in removing or dismissing the criminal allegations against the Mother to include Juzgado

de Primera Instancia e Instrucción número 4, de Vinaroz, el Procedimiento Penal: Diligencias

Previas número 960/2021.

        3.      Mother and Father agree to submit any issues regarding custody of the child, access

to the child, rights and duties regarding the child, child support for the child, any and all other

family matters concerning RGVN to the courts in Spain for determination.

        4.      Mother and Father agree to comply with any rulings from the courts of Spain

regarding the child, including, but not limited to rulings regarding which parent shall have primary

possession of the child and where the child’s primary residence should be located.

        5.      Mother and Father agree to sign any documents required to effectuate the orders of

the Spanish courts regarding the child.




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        6.      The parties agree that this Court can enter any orders necessary to effectuate the

parties intention that the child be returned to Spain.

        IT IS THEREFORE ORDERED, that RGVN, a boy born on September 30, 2020, shall be

returned to Spain forthwith. IT IS FURTHER

        ORDERED, that Petitioner, Dragos Julian Nita, shall make and pay for the child’s travel

arrangements for the child’s return to Spain, and provided to the Court and all counsel of record at

least forty-eight (48) hours’ notice of the child’s scheduled flight. IT IS FURTHER

        ORDERED that RGVN's passport, currently held by the Court, will be turned over to

counsel for the Father for the Father's use in effectuating the child's return to Spain. IT IS

FURTHER

        ORDERED, that Respondent Sherly del Carmen Villa Tovar, shall deliver and relinquish

possession of the child to the Petitioner or US Marshal as and when directed by the Court based

on the flight plans he arranges for the child. IT IS FURTHER

        ORDERED, that the child shall travel in the company of a US Marshal assigned by the

Court (who the Mother may accompany), to George Bush International Airport where the US

Marshal shall surrender the child to the Father, who will immediately transport the child to Spain

by way of the flight of which the Father notified the Court and all counsel of record as ordered

above. IT IS FURTHER

        ORDERED that, upon the return of the child to Spain, the Father shall assist, as possible,

with removing or dismissing the criminal proceedings pending against the Mother, including but

not limited to that cause styled Juzgado de Primera Instancia e Instrucción número 4, de Vinaroz,

el Procedimiento Penal: Diligencias Previas número 960/2021. IT IS FURTHER

        ORDERED that, upon the return of the child to Spain, each party will agree to abide by




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any rulings or orders issued by the courts in Spain regarding the child and execute any documents

necessary to effectuate any orders a Spanish court may issue regarding the child. IT IS FURTHER

        ORDERED that, upon the return of the child to Spain, the Father shall file a notice in this

Court confirming the child has been returned to Spain. Upon the filing such notice by the Father,

this matter shall be DISMISSED WITH PREJUDICE. IT IS FURTHER

        ORDERED that this Order is not a determination of the merits of any custody issues within

the meaning of Article 19 of the Hague Convention. IT IS FURTHER

        ORDERED that this Order is made under the authority of 22 U.S.C. § 9003(a), conferring

original jurisdiction upon this Court, and under the authority of Article 7 of the 1980 Hague

Convention.

        Without affecting the finality of this Agreed Order for the Return of Child to Spain, this

Court expressly reserves the right to make orders necessary to clarify and enforce this Order and

as necessary to effectuate the parties intended return of the child to Spain.

        It is SO ORDERED.

                DATED this________ day of _______________, 2022.


                                               __________________________________
                                               JUDGE PRESIDING




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APPROVED AND ENTRY REQUESTED:


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